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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 Centro de Trabajadores Unidos, et al.,

            Plaintiffs,

              v.
                                                  Civil Action No.
 Scott Bessent, in his official capacity as
 Secretary of the Treasury, et al.,

            Defendants.


      [PROPOSED] ORDER GRANTING TEMPORARY RESTRAINING ORDER

       Upon consideration of Plaintiffs’ motion for a temporary restraining order and

accompanying brief, it is hereby

       ORDERED that the motion is GRANTED.

       It is further ORDERED that Secretary of the Treasury Scott Bessent, the Internal Revenue

Service, and acting Commissioner of Internal Revenue Melanie Krause are enjoined from

disclosing tax return information to the U.S. Department of Homeland Security, U.S. Immigration

and Customs Enforcement, the President of the United States, or any other component of the

federal government or of a state government seeking such information for purposes of the

enforcement of immigration laws.

       It is further ORDERED that Defendants are enjoined to retrieve and safeguard any such

information that has already been disclosed for that purpose.

       SO ORDERED.


Dated: March ____, 2025                             _____________________________
                                                    U.S. District Judge
